           Case 1:19-cr-00018-ABJ Document 2 Filed 01/24/19 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                    Crim. No.

               v.                            CHARGES:

 Roger Jason Stone, Jr.                      Grand Jury Original

                                Defendant. 18 U.S.C. § 1505 (Obstruction of Official
                                           Proceeding)
                                           18 U.S.C. § 1001 (False Statements)
                                           18 U.S.C. § 1512(b)(1) (Witness Tampering)
                                           18 U.S.C. § 2 (Causing an Act to be Done)



                                             UNDER SEAL

    MOTION FOR SEALING OF THE INDICTMENT, WARRANTS, THE INSTANT
        MOTION AND TO DELAY ENTRY ON THE PUBLIC DOCKET OF
     THE FILING OF THIS MOTION TO SEAL AND ALL RELATED MATTERS

       The United States of America, by and through Special Counsel Robert S. Mueller III,

respectfully moves this Court to seal the accompanying Indictment, arrest warrant, and the instant

motion to seal, and to delay entry on the public docket of this motion to seal and all related matters

until the defendant named in the indictment is in custody. In the support of this motion, the

government states as follows:

       The defendant in this case has been indicted for obstruction, in violation of 18 U.S.C. §

1505; false statements, in violation of 18 U.S.C. § 1001; witness tampering, in violation of 18

U.S.C. § 1512(b)(1); as well as aiding and abetting, in violation of 18 U.S.C. § 2.

       Law enforcement believes that publicity resulting from disclosure of the Indictment and

related materials on the public record prior to arrest will increase the risk of the defendant fleeing

and destroying (or tampering with) evidence. It is therefore essential that any information

concerning the pending indictment in this district be kept sealed prior to the defendant’s arrest.

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           Case 1:19-cr-00018-ABJ Document 2 Filed 01/24/19 Page 2 of 2



       Accordingly, the government submits that under Washington Post v. Robinson, 935 F.2d

282, 289 n.10 (D.C. Cir. 1991), these facts present an extraordinary situation and a compelling

governmental interest that justifies not only the sealing of the Indictment and all other pleadings,

warrants, records, and files in this case, but also a short delay in the public docketing of these

sealed pleadings and the accompanying order until the defendant’s arrest.

       A proposed order accompanies this motion.

                                                     Respectfully submitted,

                                                     ROBERT S. MUELLER III
                                                     Special Counsel

Dated: January 24, 2019                       By:    _/s/_____________________
                                                     Jeanie S. Rhee
                                                     Andrew G. Goldstein
                                                     Aaron S.J. Zelinsky
                                                     L. Rush Atkinson
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